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             EXHIBIT 2
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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

MATTHEW RAY THOMPSON, JR.,                       §
    Plaintiff                                    §
                                                 §
v.                                               §      Civ. Action No.:
                                                 §
ANTHONY G. BUZBEE and                            §
ANTHONY G. BUZBEE LP                             §
(d/b/a THE BUZBEE LAW FIRM),                     §
        Defendants                               §

                                        COMPLAINT

       Plaintiff Matthew Ray Thompson, Jr., by and through undersigned counsel, files this

Complaint against Defendants Anthony G. Buzbee (“Tony Buzbee”) and Anthony G. Buzbee LP

(d/b/a The Buzbee Law Firm) (“The Buzbee Firm” or “Firm”).

                                   I.     INTRODUCTION

       1.     Tony Buzbee is a bombastic attorney in Houston, Texas, who is fond of saying

“sunlight is the best disinfectant.” Notwithstanding his professed love for transparency, Mr.

Buzbee and The Busby Law Firm used their attorney-client relationship with Plaintiff Matthew

Ray Thompson Jr. to take over 60% of Mr. Thompson’s Jones Act settlement; to enrich themselves

at Mr. Thompson’s expense by fraudulently overstating case expenses; and to further enrich

themselves by converting to their own use maintenance-and-cure funds intended to provide living

and medical expenses for Mr. Thompson and his family while he was injured. Defendants received

these funds on behalf of Mr. Thompson and then, based on information and belief, loaned the funds

back to Mr. Thompson at high interest rates through Venmo transactions a family members. At

the conclusion of his case, Defendants presented Mr. Thompson with a settlement statement that

should have disclosed in detail all the fees and expenses Mr. Thompson was being charged.

Instead, The Buzbee Law Firm’s settlement statement does little to disclose where more than 63%
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of Mr. Thompson’s recovery went. To obfuscate, the statement uses vague descriptions, scant

detail and no documentation. For example, Defendants required Mr. Thompson to travel from

Louisiana to Texas repeatedly to see Defendants’ hand-picked doctors. As a result, Mr. Thompson

incurred thousands in unnecessary travel and medical expenses which show up on the settlement

statement in various vague descriptions of travel, loans, and other expenses. Mr. Thompson brings

this action to recover the funds fraudulently withheld from him and converted by Defendants for

their own use and enrichment.

                                           II.   PARTIES

       2.      Plaintiff MATTHEW RAY THOMPSON, JR. is citizen of the State of Louisiana

who resides in Jefferson Parish, Louisiana.

       3.      Defendant ANTHONY G. BUZBEE is a citizen of Texas who, on information and

belief, resides in Harris County, Texas.

       4.      Defendant ANTHONY G. BUZBEE L.P. (d/b/a The Buzbee Law Firm) is a law

firm that is organized under the laws of State of Texas and that operates its principal place of

business from Harris County, Texas. No members of The Buzbee Law Firm’s limited partnership

reside in the State of Louisiana.

                                III.    JURISDICTION & VENUE

       5.      This Court has jurisdiction pursuant to 28 U.S.C. § 1332. Plaintiff is a citizen of

Louisiana, Defendants are citizens of Texas, and the amount in controversy exceeds $75,000

exclusive of costs and interest. Defendants have sufficient “minimum contacts” with the State of

Louisiana including: (i) Defendants first contacted Mr. Thompson in the State of Louisiana for

the purpose of soliciting him as their client; (ii) Defendants mailed and emailed a contract for

employment of attorney to Mr. Thompson in Louisiana; (iii) Defendants insisted that Mr.

Thompson use a notary of the State of Louisiana to sign documents sent to him in the State of

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Louisiana; (iv) Defendants intercepted and converted maintenance and cure payments intended for

Mr. Thompson in Louisiana; and (v) Defendants used Venmo to make a dozen or so individual

loans to Mr. Thompson and his family in the State of Louisiana.

         6.      Venue in this District is proper pursuant to 28 U.S.C. § 1391 because a substantial

part of the events giving rise to the claims occurred in this District.

                                             IV.     FACTS

A.       Buzbee uses his notoriety to lure vulnerable clients to The Buzbee Firm

         7.      Defendants rely on Buzbee’s quasi-celebrity status to lure Louisiana residents, such

as Mr. Thompson, to The Buzbee Firm. Buzbee’s fame, however, is reflected, at best. Buzbee and

his Firm have become famous by making salacious accusations against prominent members of

society. Buzbee has become rich by milking settlements with threats of negative attention from

people who rely on their public reputations for livelihood. Mr. Thompson, who has worked as a

deckhand much of his adult life, was impressed by Mr. Buzbee’s public persona, so he hired him

as his lawyer.

B.       Buzbee brought none of his glitz and bravado to Mr. Thompson’s case

         8.      In July 2023, Mr. Thompson was a deckhand on a vessel that struck a barge in the

Houston Ship Channel. Mr. Thompson suffered head, neck, and back injuries.

         9.      In November 2023, The Buzbee Law Firm filed a lawsuit on Mr. Thompson’s

behalf against Strategic Towing Services, LLC (“Strategic Towing”), owner of the vessel that Mr.

Thompson was on when he was injured. 1 As a “Jones Act Seaman,” Mr. Thompson was entitled

to receive monthly maintenance-and-cure payments while his lawsuit was pending regardless of

the merits of his claim or outcome of the suit. Based on information and belief, The Buzbee Firm



     1
     See Thompson v. Strategic Towing Servs., LLC, et al., 2023-79012, 164th Dist. Court of Harris County,
Tex. (Nov. 13, 2023) (the “Texas Lawsuit”).
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directed Strategic Towing to make Mr. Thompson’s maintenance and cure checks payable to The

Buzbee Firm and/or deposited Mr. Thompson’s checks in its operating account rather than its

IOLTA trust account. Undoubtedly, Mr. Thompson and his family did not receive the maintenance

and cure funds to which Mr. Thompson was entitled.

C.     Defendants loaned Mr. Thompson his own money in the form of high interest loans

       10.     In addition to misappropriating Mr. Thompson’s maintenance and cure funds that

were intended to provide living expenses for he and his Family, Defendants used Mr. Thompson’s

benefits for their own gain. Specifically, rather than giving Mr. Thompson these funds, Defendants

used Venmo to parse these funds out to Mr. Thompson and his wife in small amounts as high

interest loans. Specifically, December 10, 2023 “for traveling,” January 23, 2024 “travel for

Matthew,” January 19, 2024 “relocation loan,” August 15, 2024 “travel loan,” and September 16,

2024 “travel loan.” Defendants recovered these “loans” from Mr. Thompson, which was his money

to begin with, plus interest. On information and belief, Defendants had a pattern of doing the same

thing with other clients.

       11.     Based on information and belief, Defendants used Venmo to disburse “loans” to

clients to sidestep the Rules of Professional Conduct and to conceal the fraudulent nature of these

transactions. Defendants used vague or fraudulent descriptions of expenses in their settlement

statements to conceal their inflated nature. With Mr. Thompson, Defendants took more than 63%

of Mr. Thompson’s recovery. Defendants demanded that Mr. Thompson travel from Louisiana to

Texas multiple times to see doctors hand-picked by Defendants. In doing so, Defendants inflated

expenses, which then were concealed in a settlement statement with scant, if any, description of

the medical care Mr. Thompson received in Texas. Based on information and belief, Defendants

have employed the same or similar tactics in other cases involving injured seamen.




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D.     Buzbee and his Firm have preyed on other injured seamen including by
       misappropriating their maintenance and cure payments

       12.     Buzbee’s client Guadalupe Garza was injured while working on a vessel owned by

Callan Marine, Ltd. (“Callan Marine”). Buzbee sued Callan Marine in Nueces County, Texas.

Under federal law, Mr. Garza was entitled to receive maintenance and cure payments during the

pendency of his case. However, Callan Marine, like Strategic Towing, was instructed to make

payments to The Buzbee Law Firm. Mr. Garza, Buzbee’s client, claims he never received his

payments. See Garza v. Callan Marine, Ltd., 2020CCV-61002-3, Nueces County, Tex.

       13.     Buzbee, rather than leaping at the first opportunity to prove Garza’s allegations

wrong, opposed subpoenas issued by Callan Marine seeking records to show what happened to

Mr. Garza’s maintenance-and-cure payments. At a hearing, Callan Marine’s counsel stated: (a) in

addition to Mr. Garza, other Buzbee clients have not received Callen Marine’s maintenance-and-

cure payments; (b) according to records, Buzbee and his Firm deposited maintenance-and-cure

payments into the Firm’s business account rather than its trust account; and (c) The Buzbee Law

Firm often lends money to its clients, apparently repackaging the client’s own maintenance-and-

cure funds into a loan that must be repaid with interest.

       14.     In another case in Nueces County, Texas, in 2023, Callan Marine moved to

designate Buzbee, The Buzbee Law Firm, and Chris Leavitt (an attorney at The Buzbee Law Firm)

as responsible third parties for funds paid to the Firm’s client, Laquille Tyner. See Tyner v. Callan

Marine, Ltd., 2020CCV-61393-2, Nueces County, Tex. As stated in Callan Marine’s motion:

               In connection with these contested allegations, but in compliance
               with its obligations under the [Jones] Act, Defendant, Callan paid
               maintenance and cure payments to the Anthony G. Buzbee, LP (the
               “Buzbee Firm”). These funds, which even included some of Mr.
               Tyner’s unearned advances, were paid to the Buzbee Firm because
               that was following their demand. Callan was unaware that they were
               not getting the credit that was due or that these payments were being
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                converted by the Buzbee firm to appear as tokens of their own
                generosity. It is clear that Mr. Tyner alleges in his pleading that he
                did not receive all funds he thought were due from Callan and that
                he was harmed by the conduct. What Mr. Tyner did not know was
                that it was his own lawyers that were intercepting the funds and that
                his own attorney failed to place them in an IOLTA account. Even
                worse, these same attorneys have attempted to conceal their own
                shameful conduct and transform it into a larger damage award for
                their client. It was the conduct of the Responsible Third Parties that
                created the lawyer induced disappointment of Mr. Tyner in his
                employer Callan. It was these same lawyers, and this law firm, who
                failed to protect said funds in an IOLTA account or distribute them
                properly to Mr. Tyner.

         15.    Based on information and belief, Mr. Thompson and his family are similar victims

of the same pattern of abuse and unethical conduct by Buzbee and The Buzbee Law Firm.

E.       Buzbee’s pattern of abuse is not limited to vulnerable seamen

         16.    Buzbee’s misconduct and abuse are not limited to vulnerable injured seamen.

                                    Allegedly Assaulting Client

         17.    On November 19, 2024, a former Buzbee Law Firm client filed suit against Buzbee

alleging that, while Buzbee was representing her during her divorce proceedings, he flew into a fit

of rage and physically assaulted, leaving her with a chipped tooth. Following the assault, Buzbee

focused more on concealing his actions than safeguarding his client’s interests in the divorce

action.2




     2
         Attorney Repping Alleged Victims Sued for Assault, Nov. 21, 2024,
https://www.tmz.com/2024/11/21/diddy-attorney-tony-buzbee-sued-accused-of-assault/ (“[S]he
is alleging she was in a public place when Buzbee saw her, flew into a ‘fit of rage’ and allegedly
pushed a champagne flute into her face, chipping her tooth. She says she has both medical and
dental records to prove her injuries. . . . The woman’s lawyer, Jeremy Bohrer, tells TMZ, ‘Tony
Buzbee is a hypocrite. There is nothing worse than when a black hat masquerades as a white hat.’”).
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                  Allegedly Providing Financial Incentives to a Known Witness

          18.   In Haywood v. Univ. of Pittsburgh, No. 11-1200, 2012 U.S. Dist. LEXIS 179045,

at *2, a federal court invalidated Buzbee’s referral agreement as “invalid as a matter of public

policy.”

                     Allegedly Submitting Incorrect or Fraudulent Evidence

          19.   In In re Lowe’s Home Ctrs., LLC, 531 S.W.3d 861 (Tex. App. 2017), Buzbee was

accused of submitting a “venue pleadings and [his client’s] affidavit” that were “at best, incorrect,

and at worst, fraudulent.” See In re Lowe’s Home Ctrs., LLC, 531 S.W.3d 861 (Tex. App. 2017).

To avoid the consequences of his misconduct, Buzbee unilaterally nonsuited the case and refiled

it elsewhere.

                                   V.      CAUSES OF ACTION

                                Count I: Breach of Fiduciary Duty
                                    (Against All Defendants)

          20.   Plaintiff incorporates paragraphs 1 through 21 by reference, as if restated fully

herein.

          21.   Mr. Thompson had an attorney-client relationship with Defendants. As his

attorneys, Defendants promised to represent Mr. Thompson with loyalty and care and to help him

recover physically and financially from the injury he suffered as a Jones Act Seaman. The special

relationship gives the attorney insight and control over the client’s life that renders him vulnerable,

which is why ethics rules and applicable law require undivided loyalty to the client.

          22.   For example, Defendants knew that Plaintiff struggled with opioid addiction and

was wholly dependent on The Buzbee Law Firm to made decisions regarding the litigation that

were in the best interests of Mr. Thompson and his family.




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          23.   Defendant Buzbee and The Buzbee Law Firm owed Mr. Thompson duties of care

and loyalty that included safekeeping of funds recovered on his behalf in a trust account, or

immediate dispersal of funds paid to Mr. Thompson to cover living expenses for he and his family.

          24.   Defendants breached their fiduciary duties to Mr. Thompson including by

commingling his funds with their operating funds; and by misappropriating his funds for their own

benefit, and by converting his funds to their own use and by charging Mr. Thompson interest on

these funds to his detriment.

          25.   Defendants made these loans to Mr. Thompson’s family members, rather than Mr.

Thompson himself, to sidestep safeguards in Rules of Professional Conduct 1.4, 1.5, and 1.8,

which are expressly intended to protect vulnerable clients like Mr. Thompson.

          26.   Defendants breached their fiduciary duties to Mr. Thompson, as described herein,

and as will be proved in discovery and at trial, and damaged Mr. Thompson by denying him

maintenance and cure, charging him interest on his own funds, inflating case expenses, requiring

him to incur unnecessary travel and medical expenses, and other amounts that will be proven at

trial.

                    Count II: Fraud (Louisiana Law – La. Civ. Code 1953)
                                  (Against All Defendants)

          27.   Plaintiff incorporates paragraphs 1 through 28 by reference, as if fully restated

herein.

          28.   Under federal maritime law, Strategic Towing, Mr. Thompson’s employer, owed

him maintenance-and-cure payments during the pendency of this injury and lawsuit.

          29.   Defendants misappropriated Mr. Thompson’s maintenance-and-cure payments

from Strategic Towing by directing these payments to The Buzbee Law Firm, depositing them into

The Buzbee Law Firm’s operating account, issuing them to Mr. Thompson as high interest loans,

and recover both principal and interest from Mr. Thompson at the conclusion of his case. All the
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while, Mr. Thompson and his family’s living were left unpaid. While he was represented by

Buzbee and The Buzbee Law Firm, Mr. Thompson struggled with rent, groceries, utilities, gas and

other expenses that maintenance-and-cure were expressly intended to cover.

          30.   Mr. Thompson has been damaged by Defendants’ misappropriation and misuse of

Defendants have concealed from Mr. Thompson the amount of maintenance-and-cure payments

that Strategic Towing made on Mr. Thompson’s behalf, the manner in which these funds were

used, and the amount to which Mr. Thompson was entitled. These amounts of damage will be

proven in discovery and at trial.

                                     Count III: Conversion
                                    (Against All Defendants)

          31.   Plaintiff incorporates paragraphs 1 through 32 by reference as if restated fully

herein.

          32.   In the Texas lawsuit, Defendants were pursuing recovery for Mr. Thompson’s

injuries sustained while working as a Jones Act Seaman. Plaintiff was entitled to receive

maintenance-and-cure payments from non-party Strategic Towing during the pendency of that

lawsuit. Based on information and belief, Strategic Towing made maintenance-and-cure payments

to The Buzbee Law Firm on behalf of Mr. Thompson. These maintenance-and-cure payments were

intended by Strategic Towing to provide for Mr. Thompson’s living expenses and medical care

while he was pursuing his lawsuit. Defendants were entrusted with the payments as Mr.

Thompson’s attorneys and were obligated to pass these payments on to Mr. Thompson so they

could be used for their intended purpose – to provide for Mr. Thompson and his family while he

was injured.

          33.   Based on information and belief, Defendants failed to deposit Mr. Thompson’s

maintenance-and-cure payments in a segregated IOLTA trust account, as required by Rules of

Professional Conduct but rather deposited these funds in The Buzbee Law Firm’s operating
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account for its own use and benefit including loaning Mr. Thompson’s funds back to him with

interest. Defendants, without any claim of title or ownership, continued to withhold and use these

funds for its own benefit throughout Mr. Thompson’s lawsuit despite his repeated demands to

release the maintenance-and-cure payments that had been paid for his benefit.

                                        VI.    JURY DEMAND

        Plaintiff demands a trial by jury on all triable issues.

                                 VII.     REQUEST FOR RELIEF

        WHEREFORE, PREMISES CONSIDERED, Plaintiff Matthew Ray Thompson, Jr. prays

for judgment against Defendants Anthony G. Buzbee and Anthony G. Buzbee L.P. (d/b/a The

Buzbee Law Firm) including the following relief:

        A judgment in favor of Plaintiff and against Defendants on all counts including an award

of Plaintiff’s actual damages, punitive damages, statutory damages, reasonable and necessary

attorneys’ fees, expert fees, and court costs; and all other relief in favor of Plaintiff that the Court

may deem appropriate.

        Dated: December 9, 2024.

                                         Respectfully submitted,

                                         MATTHEW RAY THOMPSON, JR.

                                         By: /s/ Timothy W. Porter
                                             Tim Porter, La. Bar No. 24863
                                             PORTER MALOUF, P.A.
                                             825 Ridgewood Road
                                             Ridgeland, MS 39157
                                             Telephone: (601) 957-1173
                                             Facsimile: (601) 957-7366
                                             tim@portermalouf.com




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